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                          KING COUNTY
                      SUPERIOR COURT CLERK

                      CASE #: 22-2-05510-3 SEA
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                                        SUPERIOR COURT CLERK
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                                        CASE #: 22-2-05510-3 SEA




                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                 FOR THE COUNTY OF KING

O'Keefe                                              No. 22-2-05510-3 SEA

                                                     CASE INFORMATION COVER SHEET AND
vs                                                   AREA DESIGNATION

                                                     (CICS)
Holland America Line, Inc.

                                          CAUSE OF ACTION

                                          PIN - Personal Injury

                                       AREA OF DESIGNATION

SEA               Defined as all King County north of Interstate 90 and including all of Interstate 90
                  right of way, all of the cities of Seattle, Mercer Island, Issaquah, and North Bend, and
                  all of Vashon and Maury Islands.
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                                              CASE #: 22-2-05510-3 SEA




                      IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                    FOR THE COUNTY OF KING

O'Keefe                                        NO. 22-2-05510-3 SEA

                               Plaintiff(s)    ORDER SETTING CIVIL CASE SCHEDULE
vs
                                               ASSIGNED JUDGE: MESSITT, Dept. 36
ET AL. HOLLAND AMERICA LINE,
INC.
                                               FILED DATE: 04/15/2022
                            Defendant(s)       TRIAL DATE:04/17/2023

A civil case has been filed in the King County Superior Court and will be managed by the Case Schedule on
Page 3 as ordered by the King County Superior Court Presiding Judge.

                                                   I. NOTICES

NOTICE TO PLAINTIFF: The Plaintiff may serve a copy of this Order Setting Case Schedule
(Schedule) on the Defendant(s) along with the Summons and Complaint/Petition. Otherwise, the
Plaintiff shall serve the Schedule on the Defendant(s) within 10 days after the later of: (1) the filing of the
Summons and Complaint/Petition or (2) service of the Defendant's first response to the
Complaint/Petition, whether that response is a Notice of Appearance, a response, or a Civil Rule 12
(CR 12) motion. The Schedule may be served by regular mail, with proof of mailing to be filed promptly
in the form required by Civil Rule 5 (CR 5).

NOTICE TO ALL PARTIES:
All attorneys and parties should make themselves familiar with the King County Local Rules [KCLCR] --
especially those referred to in this Schedule. In order to comply with the Schedule, it will be necessary
for attorneys and parties to pursue their cases vigorously from the day the case is filed. For example,
discovery must be undertaken promptly in order to comply with the deadlines for joining additional parties,
claims, and defenses, for disclosing possible witnesses [See KCLCR 26], and for meeting the discovery
cutoff date [See KCLCR 37(g)].
            You are required to give a copy of these documents to all parties in this case.




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                                          I. NOTICES (continued)

CROSSCLAIMS, COUNTERCLAIMS AND THIRD PARTY COMPLAINTS:
A filing fee of $240 must be paid when any answer that includes additional claims is filed in an existing
case.

KCLCR 4.2(a)(2)
A Confirmation of Joinder, Claims and Defenses or a Statement of Arbitrability must be filed by the
deadline in the schedule. The court will review the confirmation of joinder document to determine if a
hearing is required. If a Show Cause order is issued, all parties cited in the order must appear before
their Chief Civil Judge.

PENDING DUE DATES CANCELED BY FILING PAPERS THAT RESOLVE THE CASE:
When a final decree, judgment, or order of dismissal of all parties and claims is filed with the Superior
Court Clerk's Office, and a courtesy copy delivered to the assigned judge, all pending due dates in this
Schedule are automatically canceled, including the scheduled Trial Date. It is the responsibility of the
parties to 1) file such dispositive documents within 45 days of the resolution of the case, and 2) strike any
pending motions by notifying the bailiff to the assigned judge.

 Parties may also authorize the Superior Court to strike all pending due dates and the Trial Date by filing
a Notice of Settlement pursuant to KCLCR 41, and forwarding a courtesy copy to the assigned judge. If a
final decree, judgment or order of dismissal of all parties and claims is not filed by 45 days after a Notice
of Settlement, the case may be dismissed with notice.

If you miss your scheduled Trial Date, the Superior Court Clerk is authorized by KCLCR 41(b)(2)(A) to
present an Order of Dismissal, without notice, for failure to appear at the scheduled Trial Date.

NOTICES OF APPEARANCE OR WITHDRAWAL AND ADDRESS CHANGES:
All parties to this action must keep the court informed of their addresses. When a Notice of
Appearance/Withdrawal or Notice of Change of Address is filed with the Superior Court Clerk's Office,
parties must provide the assigned judge with a courtesy copy.

 ARBITRATION FILING AND TRIAL DE NOVO POST ARBITRATION FEE:
A Statement of Arbitrability must be filed by the deadline on the schedule if the case is subject to
mandatory arbitration and service of the original complaint and all answers to claims, counterclaims and
cross-claims have been filed. If mandatory arbitration is required after the deadline, parties must obtain
an order from the assigned judge transferring the case to arbitration. Any party filing a Statement must
pay a $250 arbitration fee. If a party seeks a trial de novo when an arbitration award is appealed, a fee
of $400 and the request for trial de novo must be filed with the Clerk’s Office Cashiers.

NOTICE OF NON-COMPLIANCE FEES:
All parties will be assessed a fee authorized by King County Code 4A.630.020 whenever the Superior
Court Clerk must send notice of non-compliance of schedule requirements and/or Local Civil Rule 41.

      King County Local Rules are available for viewing at www.kingcounty.gov/courts/clerk.




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                                           II. CASE SCHEDULE
*   CASE EVENT                                                                          EVENT DATE
    Case Filed and Schedule Issued.                                                          04/15/2022
*   Last Day for Filing Statement of Arbitrability without a Showing of Good Cause           09/23/2022
    for Late Filing [See KCLMAR 2.1(a) and Notices on Page 2].
     $220 arbitration fee must be paid
*   DEADLINE to file Confirmation of Joinder if not subject to Arbitration                     09/23/2022
    [See KCLCR 4.2(a) and Notices on Page 2].
    DEADLINE for Hearing Motions to Change Case Assignment Area [KCLCR                         10/07/2022
    82(e)].
    DEADLINE for Disclosure of Possible Primary Witnesses [See KCLCR 26(k)].                   11/14/2022
    DEADLINE for Disclosure of Possible Additional Witnesses [See KCLCR 26(k)].                12/27/2022
    DEADLINE for Jury Demand [See KCLCR 38(b)(2)].                                             01/09/2023
    DEADLINE for a Change in Trial Date [See KCLCR 40(e)(2)].                                  01/09/2023
    DEADLINE for Discovery Cutoff [See KCLCR 37(g)].                                           02/27/2023

   DEADLINE for Engaging in Alternative Dispute Resolution [See KCLCR 16(b)].                   03/20/2023
   DEADLINE: Exchange Witness & Exhibit Lists & Documentary Exhibits                            03/27/2023
   [KCLCR 4(j)].
* DEADLINE to file Joint Confirmation of Trial Readiness [See KCLCR 16(a)(1)]                   03/27/2023
   DEADLINE for Hearing Dispositive Pretrial Motions [See KCLCR 56; CR 56].                     04/03/2023
*   Joint Statement of Evidence [See KCLCR 4 (k)]                                               04/10/2023
   DEADLINE for filing Trial Briefs, Proposed Findings of Fact and Conclusions of               04/10/2023
   Law and Jury Instructions (Do not file proposed Findings of Fact and
   Conclusions of Law with the Clerk)
   Trial Date [See KCLCR 40].                                                                   04/17/2023
The * indicates a document that must be filed with the Superior Court Clerk’s Office by the date shown.

                                               III. ORDER

Pursuant to King County Local Rule 4 [KCLCR 4], IT IS ORDERED that the parties shall comply with the
schedule listed above. Penalties, including but not limited to sanctions set forth in Local Rule 4(g) and
Rule 37 of the Superior Court Civil Rules, may be imposed for non-compliance. It is FURTHER
ORDERED that the party filing this action must serve this Order Setting Civil Case Schedule and
attachment on all other parties.


DATED:      04/15/2022



                                                                     PRESIDING JUDGE




                                                                                                            3
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                   IV. ORDER ON CIVIL PROCEEDINGS FOR ASSIGNMENT TO JUDGE

READ THIS ORDER BEFORE CONTACTING YOUR ASSIGNED JUDGE.
This case is assigned to the Superior Court Judge whose name appears in the caption of this case
schedule. The assigned Superior Court Judge will preside over and manage this case for all pretrial matters.

COMPLEX LITIGATION: If you anticipate an unusually complex or lengthy trial, please notify the assigned
court as soon as possible.

APPLICABLE RULES: Except as specifically modified below, all the provisions of King County Local Civil
Rules 4 through 26 shall apply to the processing of civil cases before Superior Court Judges. The local civil
rules can be found at www.kingcounty.gov/courts/clerk/rules/Civil.

CASE SCHEDULE AND REQUIREMENTS: Deadlines are set by the case schedule, issued pursuant to
Local Civil Rule 4.

THE PARTIES ARE RESPONSIBLE FOR KNOWING AND COMPLYING WITH ALL DEADLINES
IMPOSED BY THE COURT’S LOCAL CIVIL RULES.

A. Joint Confirmation regarding Trial Readiness Report
No later than twenty one (21) days before the trial date, parties shall complete and file (with a copy to the
assigned judge) a joint confirmation report setting forth whether a jury demand has been filed, the expected
duration of the trial, whether a settlement conference has been held, and special problems and needs (e.g.,
interpreters, equipment).

The Joint Confirmation Regarding Trial Readiness form is available at www.kingcounty.gov/courts/scforms.
If parties wish to request a CR 16 conference, they must contact the assigned court. Plaintiff’s/petitioner’s
counsel is responsible for contacting the other parties regarding the report.

B. Settlement/Mediation/ADR
a. Forty five (45) days before the trial date, counsel for plaintiff/petitioner shall submit a written settlement
demand. Ten (10) days after receiving plaintiff’s/petitioner’s written demand, counsel for
defendant/respondent shall respond (with a counter offer, if appropriate).

b. Twenty eight (28) days before the trial date, a Settlement/Mediation/ADR conference shall have been
held. FAILURE TO COMPLY WITH THIS SETTLEMENT CONFERENCE REQUIREMENT MAY RESULT
IN SANCTIONS.

C. Trial
Trial is scheduled for 9:00 a.m. on the date on the case schedule or as soon thereafter as convened by the
court. The Friday before trial, the parties should access the court’s civil standby calendar on the King County
Superior Court website www.kingcounty.gov/courts/superiorcourt to confirm the trial judge assignment.

MOTIONS PROCEDURES

A. Noting of Motions

Dispositive Motions: All summary judgment or other dispositive motions will be heard with oral argument
before the assigned judge. The moving party must arrange with the hearing judge a date and time for the
hearing, consistent with the court rules. Local Civil Rule 7 and Local Civil Rule 56 govern procedures for
summary judgment or other motions that dispose of the case in whole or in part. The local civil rules can be
found at www.kingcounty.gov/courts/clerk/rules/Civil.

Non-dispositive Motions: These motions, which include discovery motions, will be ruled on by the
assigned judge without oral argument, unless otherwise ordered. All such motions must be noted for a date
by which the ruling is requested; this date must likewise conform to the applicable notice requirements.
Rather than noting a time of day, the Note for Motion should state “Without Oral Argument.” Local Civil Rule


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7 governs these motions, which include discovery motions. The local civil rules can be found at
www.kingcounty.gov/courts/clerk/rules/Civil.

Motions in Family Law Cases not involving children: Discovery motions to compel, motions in limine,
motions relating to trial dates and motions to vacate judgments/dismissals shall be brought before the
assigned judge. All other motions should be noted and heard on the Family Law Motions calendar. Local
Civil Rule 7 and King County Family Law Local Rules govern these procedures. The local rules can be
found at www.kingcounty.gov/courts/clerk/rules.

Emergency Motions: Under the court’s local civil rules, emergency motions will usually be allowed only
upon entry of an Order Shortening Time. However, some emergency motions may be brought in the Ex
Parte and Probate Department as expressly authorized by local rule. In addition, discovery disputes may be
addressed by telephone call and without written motion, if the judge approves in advance.

B. Original Documents/Working Copies/ Filing of Documents: All original documents must be filed
with the Clerk’s Office. Please see information on the Clerk’s Office website at
www.kingcounty.gov/courts/clerk regarding the requirement outlined in LGR 30 that attorneys must e-file
documents in King County Superior Court. The exceptions to the e-filing requirement are also available on
the Clerk’s Office website. The local rules can be found at www.kingcounty.gov/courts/clerk/rules.

The working copies of all documents in support or opposition must be marked on the upper right corner of
the first page with the date of consideration or hearing and the name of the assigned judge. The assigned
judge’s working copies must be delivered to his/her courtroom or the Judges’ mailroom. Working copies of
motions to be heard on the Family Law Motions Calendar should be filed with the Family Law Motions
Coordinator. Working copies can be submitted through the Clerk’s office E-Filing application at
www.kingcounty.gov/courts/clerk/documents/eWC.

Service of documents: Pursuant to Local General Rule 30(b)(4)(B), e-filed documents shall be
electronically served through the e-Service feature within the Clerk’s eFiling application. Pre-registration to
accept e-service is required. E-Service generates a record of service document that can be e-filed. Please
see the Clerk’s office website at www.kingcounty.gov/courts/clerk/documents/efiling regarding E-Service.

Original Proposed Order: Each of the parties must include an original proposed order granting requested
relief with the working copy materials submitted on any motion. Do not file the original of the proposed
order with the Clerk of the Court. Should any party desire a copy of the order as signed and filed by the
judge, a pre-addressed, stamped envelope shall accompany the proposed order. The court may distribute
orders electronically. Review the judge’s website for information:
www.kingcounty.gov/courts/SuperiorCourt/judges.

Presentation of Orders for Signature: All orders must be presented to the assigned judge or to the Ex
Parte and Probate Department, in accordance with Local Civil Rules 40 and 40.1. Such orders, if presented
to the Ex Parte and Probate Department, shall be submitted through the E-Filing/Ex Parte via the Clerk
application by the attorney(s) of record. E-filing is not required for self-represented parties (non-attorneys). If
the assigned judge is absent, contact the assigned court for further instructions. If another judge enters an
order on the case, counsel is responsible for providing the assigned judge with a copy.

Proposed orders finalizing settlement and/or dismissal by agreement of all parties shall be presented
to the Ex Parte and Probate Department. Such orders shall be submitted through the E-Filing/Ex Parte
via the Clerk application by the attorney(s) of record. E-filing is not required for self-represented parties (non-
attorneys). Formal proof in Family Law cases must be scheduled before the assigned judge by contacting
the bailiff, or formal proof may be entered in the Ex Parte Department. If final order and/or formal proof
are entered in the Ex Parte and Probate Department, counsel is responsible for providing the
assigned judge with a copy.

C. Form
Pursuant to Local Civil Rule 7(b)(5)(B), the initial motion and opposing memorandum shall not exceed 4,200
words and reply memoranda shall not exceed 1,750 words without authorization of the court. The word count


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includes all portions of the document, including headings and footnotes, except 1) the caption; 2) table of
contents and/or authorities, if any; and 3): the signature block. Over-length memoranda/briefs and motions
supported by such memoranda/briefs may be stricken.

IT IS SO ORDERED. FAILURE TO COMPLY WITH THE PROVISIONS OF THIS ORDER MAY RESULT
IN DISMISSAL OR OTHER SANCTIONS. PLAINTIFF/PEITITONER SHALL FORWARD A COPY OF THIS
ORDER AS SOON AS PRACTICABLE TO ANY PARTY WHO HAS NOT RECEIVED THIS ORDER.




                                                                     PRESIDING JUDGE




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 4                  IN THE SUPERIOR COURT FOR THE STATE OF WASHINGTON
                                  IN AND FOR KING COUNTY
 5

 6
     CATHERINE O’KEEFE
 7                                                       NO. 22-2-05510-3
                           Plaintiff,
 8                                                       ORDER FOR LIMITED ADMISSION OF
                      v.                                 MICHAEL GUILFORD PURSUANT TO
 9                                                       APR 8(b) (PRO HAC VICE)
     HOLLAND AMERICA LINE INC., a
10   Washington Corporation, HAL MARITIME
     LTD., a Netherland Antilles corporation,
11
     HOLLAND AMERICA LINE N.V., a Curacao
12   Corporation, and HAL ANTILLEN N.V., a
     Curacao Corporation,
13
                           Defendants.
14

15

16                                               ORDER
17          It is hereby ORDERED that the Applicant for Limited Admission pursuant to APR 8(b)
18
     listed above is admitted to practice as a lawyer in this proceeding. The Moving Party shall be the
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     lawyer of record herein, is responsible for the conduct hereof, and shall be present at all proceedings
20
     unless excused by this court.
21
            Dated                                 .
22

23

24

25                                                Judge/Commissioner/Clerk

26

     SUPERIOR COURT                                                 An d e r so n & M it c h el l , PL L C
     APR 8(b) ORDER - 1                                                      100 S. King St., Suite 560
                                                                                Seattle, WA 98104
                                                                             Phone: (206) 436-8490
                                                                              Fax: (206) 436-8491
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     Presented by:
 1

 2   _s/Wayne Mitchell__________
     Wayne Mitchell
 3   WSBA #24347
 4   Attorney for Plaintiff

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     SUPERIOR COURT                                   An d e r so n & M it c h el l , PL L C
     APR 8(b) ORDER - 2                                        100 S. King St., Suite 560
                                                                  Seattle, WA 98104
                                                               Phone: (206) 436-8490
                                                                Fax: (206) 436-8491
